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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF [TEXAS

 

 

 

 

 

 

 

 

AMARILLO DIVISION NOV -2 2020
LONE STAR BANK OF WEST TEXAS, CLERK, US. DISTRICT COURT
Plaintiff, 2h ——
v. 2:19-CV-098-Z

(Adversary No. 18-2007-RLJ)
RABO AGRIFINANCE, LLC, ef al.,

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Defendants.
ORDER AMENDING CASE CAPTION
The Court, on its own Motion, hereby DIRECTS the Clerk of Court to amend the caption
of the case to conform with the listing of the parties above to correct a scrivener’s error in the name
of Defendant Rabo Agrifinance, LLC.
SO ORDERED.

November F, 2020.

 

MATAHEW J. KACSMARYK
ED STATES DISTRICT JUDGE

 
